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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00001 GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   ZALATHIEL AGUILA,                                   DATE: June 17, 2016
                                                         TIME: 9:00 a.m.
15                                Defendants.            COURT: Hon. Garland E. Burrell, Jr.
16

17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on June 17, 2016.
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            2.      By this stipulation, the parties now move to continue the status conference until August
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     26, 2016, and to exclude time between June 17, 2016, and August 26, 2016, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has produced approximately 31,347 pages of discovery directly
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            to defense counsel in this matter to date. This discovery consists of investigative reports, audio
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            recordings, banking records, escrow files, loan files, various subpoena returns, and other
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            documents obtained or created in the course of the investigation. Moreover, defense counsel has
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            been informed that the government is in possession of an imaged hard drive ready for defense
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            counsel’s inspection and copying at a time of his choosing.
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                    b)     Counsel for defendant desires additional time to review this voluminous

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 1          discovery, consult with his client, conduct investigation and research, and to otherwise evaluate

 2          the case and prepare for trial.

 3                  c)      Counsel for defendant believes that failure to grant the above-requested

 4          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5          into account the exercise of due diligence.

 6                  d)      The government joins in the request for a continuance so that all parties will be

 7          prepared to set trial dates at the proposed August 26, 2016, status conference.

 8                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of June 17, 2016 to August 26, 2016,

13          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14          because it results from a continuance granted by the Court at the parties’ request on the basis of

15          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16          of the public and the defendant in a speedy trial.

17          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: June 16, 2016                                       PHILLIP A. TALBERT
                                                              Acting United States Attorney
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23                                                            /s/ MATTHEW M. YELOVICH
                                                              MATTHEW M. YELOVICH
24                                                            Assistant United States Attorney
25
     Dated: June 16, 2016                                     /s/ BRUCE LOCKE
26                                                            BRUCE LOCKE
27                                                            Counsel for Defendant
                                                              ZALATHIEL AGUILA
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 1                                         FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED.

 3 Dated: June 17, 2016

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30   FINDINGS AND ORDER
